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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )           8:03CR137-2
                                      )
            Plaintiff,                )
                                      )
vs.                                   )           ORDER
                                      )
RYAN HAYNES,                          )
                                      )
            Defendant.                )

      IT IS ORDERED that the government’s motion to continue the defendant’s
Rule 35 hearing (filing 174) is denied as moot.

      DATED this 16th day of June, 2005.

                                           BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
